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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                          NEW BERN DIVISION

  In Re:
  LINDA GREENE                                                  CASE NO. 22-01830-5-JNC
                                                                CHAPTER     13
  Social Security No. xxx-xx-8929
  Address: 10860 US Highway 17 S., Pollocksville NC 28573-


                                                       Debtor


 MOTION TO PARTIALLY AVOID JUDICIAL LIEN OF CAROLINA WINDOWS & DOORS, INC.

 NOW COMES the Debtor, by and through counsel, and moves to avoid the judicial lien of Carolina
 Windows & Doors, Inc. (“Creditor”) pursuant to 11 U.S.C. § 522(f) and Rules 4003(d) and 9014 of the
 Federal Rules of Bankruptcy Procedure by showing unto the court the following:

 1.   This matter is a core proceeding pursuant to 28 U.S.C. § 157, and the court has jurisdiction pursuant
      to 28 U.S.C. §§ 151, 157 and 1334. The court has the authority to hear this matter pursuant to the
      General Order of Reference entered on August 3, 1984 by the United States District Court for the
      Eastern District of North Carolina.

 2.   The Debtor filed a petition for relief under Chapter 13 of the United States Bankruptcy Code on August
      17, 2022 (“Petition Date”).

 3.   The Debtor is now, and has been at all times since this case was filed, the owner of a 100% title interest
      in the real property (“Property”) as described in Book 347 at Page 894 as recorded on 01/14/2011 in the
      Registry of Deeds for the County of Jones, North Carolina, which property may also now or formerly
      be known as 10860 US Highway 17 S, Pollocksville, NC 28573.

 4.   As of the Petition Date, the fair market value of the Property was $80,000.00.

 5.   As of the Petition Date, the Property was the residence of the Debtor, and the Debtor has claimed and
      was entitled to claim an exemption in the Property pursuant to N.C.G.S. § 1C-1601(a)(1) of not more
      than $35,000.00.

 6.   Prior to the filing of this case, Carolina Windows & Doors, Inc. (“the Creditor”) obtained a judgment
      against the Debtor on or about 03/02/2021 in the amount of approximately $7,797.40 as referenced in
      file number 21-CVM-000006 in the Office of the Clerk of Court of Jones County.

 7.   As a result, the Creditor holds a judicial lien against Debtor’s interest in the Property.

 8.   Upon information and belief, the balance owing to the Creditor concerning the judicial lien, together
      with interest, as of the Petition Date, was approximately $8,708.31.

 9.   Upon information and belief, as of the Petition Date, the only other liens against the Property recorded
      in Jones County were the following:
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                                                                                   Unpaid Balance of Lien
          Name of Creditor Holding Lien                  Type of Lien
                                                                                     As of Petition Date
       21st Mortgage Corporation                         Deed of Trust                    $44,759.02
                                       Total Unpaid Balance Of Other Liens:               $44,759.02

 10. Since the sum of: (1) The amount of the judicial lien held by Carolina Windows & Doors, Inc.
     ($8,708.31), (2) The total amount of all other liens on the Property ($44,759.02), plus (3) The amount
     of the exemption that the Debtor was entitled to claim if there were no liens on the Property ($35,000),
     exceeds the value of the Property (or, in the event that the Debtor owns less than a 100% interest in the
     Property, the value of her interest in the Property) by $8,467.33 ($88,467.33 - $80,000), the judicial lien
     impairs an exemption of the Debtor to that extent, and therefore, pursuant to U.S.C. § 522(f)(2)(A), the
     judicial lien is avoidable to the extent of $8,467.33.

 11. The Debtor also moves the Court for approval of an presumptive additional attorney fee pursuant to U.S.
     Bankruptcy Court Local Rule 2016-1(a)(6), to pay for the processing of this motion and the ensuing
     order.

 WHEREFORE, the Debtor prays that the court enter an Order as follows:

 1.   Avoiding the judicial lien held by Carolina Windows & Doors, Inc. to the extent of $8,467.33;

 2.   Approving an additional attorney fee, payable to the Law Offices of John T. Orcutt, P.C., in the sum
      of $500.00 to pay for the services outlined above; and

 3.   Granting such other and further relief as to the court may seem just and proper.

 Dated: February 16, 2023

                                                    LAW OFFICES OF JOHN T. ORCUTT, P.C.

                                                     /s Raymond DiGuiseppe
                                                    Raymond DiGuiseppe
                                                    N.C. State Bar No. 41807
                                                    6616-203 Six Forks Road
                                                    Raleigh, N.C. 27615
                                                    Telephone: (910) 920-0902
                                                    Fax: (910) 444-1279
                                                    Email: postlegal@johnorcutt.com
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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
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  In Re:
  LINDA GREENE                                                   CASE NO. 22-01830-5-JNC
                                                                 CHAPTER     13
  Social Security No. xxx-xx-8929
  Address: 10860 US Highway 17 S., Pollocksville NC 28573-


                                                        Debtor

                                                   NOTICE OF MOTION

 The Debtor has filed papers with the court to avoid the judicial lien held by Carolina Windows & Doors, Inc.,
 pursuant to 11 U.S.C.§ 522(f) and Federal Rules of Bankruptcy Procedure 4003(d) and 9014,and for approval
 of an additional attorney fee for processing this motion and the ensuing order.

 Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
 if your have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

 If you do not want the court to grant the relief sought in this motion, or if you want the court to consider your
 views on the motion, then on or before fourteen (14) days after the date on this notice, you or your attorney
 must file with the court, pursuant to Local Rule 9013-1 and 9014-1, a written response, an answer explaining
 your position, and a request for hearing at: Clerk, U.S. Bankruptcy Court, P.O. Box 791, Raleigh, N.C.
 27602.

 If you mail your response to the court for filing, you must mail it early enough so that court will receive it
 on or before the date stated above. You must also send a copy to the following:

   Law Offices of John T. Orcutt                                  Joseph A. Bledsoe, III
   Attorney                                                       Chapter 13 Trustee
   6616-203 Six Forks Rd.                                         P.O. Box 1618
   Raleigh, N.C. 27615                                            New Bern, N.C. 28563

 If a response and a request for hearing is filed in writing on or before the date set above, a hearing will be
 conducted on the motion at a date, time and place to be later set and all parties will be notified accordingly.
 If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought
 in this motion and may enter an order granting that relief.

 Dated: February 16, 2023
                                                             LAW OFFICES OF JOHN T. ORCUTT, P.C.
                                                              /s Raymond DiGuiseppe
                                                             Raymond DiGuiseppe
                                                             N.C. State Bar No. 41807
                                                             6616-203 Six Forks Road
                                                             Raleigh, N.C. 27615
                                                             Telephone: (910) 920-0902
                                                             Fax: (910) 444-1279
                                                             Email: postlegal@johnorcutt.com
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                                      CERTIFICATE OF SERVICE

 I, Charlene Ennemoser, certify under penalty of perjury that I am, and at all times hereinafter mentioned was,
 more than eighteen (18) years of age and that on February 16, 2023, I served copies of the foregoing
 MOTION AND NOTICE OF MOTION TO AVOID JUDICIAL LIEN by certified mail upon the
 following parties:

 Carolina Windows & Doors, Inc.
 Attn: Officer or Managing Agent
 3203 S Memorial Drive
 Greenville, NC 27834-

 and by regular first-class U.S. mail upon the following parties:

 Linda Greene
 10860 US Highway 17 S.,
 Pollocksville NC 28573-

 and by automatic electronic noticing upon the following parties:

 Joseph A. Bledsoe, III
 Chapter 13 Trustee



                                                        /s Charlene Ennemoser
                                                        Charlene Ennemoser
